
In re Allianz Insurance Co.; AXA Global Risks (U.K.); Certain Underwriters at Lloyd’s London; Compagnie Transconti-nentale De Reassurance; Compagnie Transcontinentale De Reassurance; Hayes, Terrance; Houston Casualty Co.; Kaiser Alumina &amp; Chemical Corp.; Lexington Insurance Co.; Munich Reinsurance Co.; National Union Fire Ins. Co.; Q.B.E. International Ins. Ltd.; Qatar Insurance Co.; Sorema Insurance Co.; Swiss Reinsurance Co.; Winterthur International Ins. Co.; Zurich Reinsurance Co.; — Plaintiff(s); Applying For Supervisory and/or Remedial Writs, Parish of St. James, 23rd Judicial District Court Div. E, No. 25,975; to the Court of Appeal, Fifth Circuit, No. 08-CM-1266.
Not considered, not timely filed. See Supreme Court Rule X, section 5.
